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December 4, 2020                                                                              Brian H. Potts
                                                                                     BPotts@perkinscoie.com
                                                                                         D. +1.608.663.7493
                                                                                         F. +1.608.663.7499

VIA ECF

The Honorable Stephen L. Crocker
United States Courthouse
120 N. Henry St.
Madison, WI 53703

Re:    Driftless Area Land Conservancy v. Huebsch, Case No. 19-cv-1007: Co-Owners’
       Response to November 30, 2020 Order

Dear Magistrate Judge Crocker:

On behalf of Intervenor-Defendants American Transmission Company LLC (“ATC”), Dairyland
Power Cooperative (“Dairyland”), and ITC Midwest LLC (“ITC”) (collectively, “the Co-
Owners”), I am writing in response to this Court’s November 30, 2020 order regarding the
summary judgment and trial dates in the above-captioned matter.

First, the Co-Owners oppose postponement of the trial from the currently scheduled date of May
24, 2021. (See ECF No. 54, at 4) While the Co-Owners appreciate the Court’s willingness to
reschedule deadlines in this case to accommodate the forthcoming holidays, the Co-Owners have
a strong interest in resolving this case as soon as is reasonably possible. Moreover, and as the
Co-Owners have previously stated, discovery in this case began in May. The Plaintiffs have had
more than enough time to marshal evidence to support their claims through discovery to parties
and non-parties alike. The fact that they waited until October (when the deadline for dispositive
motions was less than a month away) to propound a substantial amount of their discovery on
parties and third parties is no one’s fault but their own. Accordingly, the Co-Owners’ strong
preference is to maintain the current deadline for dispositive motions (January 4, 2021) and the
current trial date (May 24, 2021).

Second, if the Court is inclined to alter the trial date in this case, the Co-Owners prefer a trial
date of July 12, 2021, but have flexibility to work with any of the dates the Court proposed.

Finally, as the Court is aware, the Co-Owners and the Defendants have appealed the Court’s
partial denial of their motions to dismiss to the Seventh Circuit Court of Appeals. The
Defendants have also filed a motion with the Seventh Circuit to stay proceedings before this
Court while the appeal is pending. Should the Seventh Circuit grant that motion, it would
effectively suspend the procedural schedule in this case. In that instance, the Co-Owners would
ask this Court to preserve one of the August 2021 trial dates for the parties in case it is needed.
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The Honorable Stephen L. Crocker
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Very truly yours,




Brian H. Potts

cc:    All counsel of record (via ECF)
